Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.l Page 1 of 13
CIVIL COVER SHEET

JS 44 (Rev. 08/16)

The JS 44 civil cover sheet and
provided by local rules ofcourt.

the information contained herein neither re
This form, approved by the Judicial Conference ofth

place nor supplement the filing and service of

8

pleadings or other

purpose of initiating the civil docket sheet (SEE 1NSTRUCT/0NS ON NEXTPA GE OF TH/s FORM.)

papers as re

quired by law, except as
nited States in September 1974, is required for the use ofthe Clerk of`Court for the

 

I. (a) PLAINTIFFS
George Mousa Mufarreh

(b) County of Residence of First Listed Plaintift`

Wayne

(EXCEPT[N U,S. PLAINTIFF CASES)

thi§lzu/itttt§t%tii'f'ati/“Ftlfht€djettt'té¥riee lenetrt§'€§tlt (P57937)

30150 Te|egraph Rd., Ste 444
Bingham Farms, M| 48025 (248) 220-1415

Ce|tic Bank Corporations

County of Rcsidcncc ofl-`irst Listcd Dcfcndant

NOTE:
THE TRACT OF LAND INVOLVED.

AttOl'll€yS ([fKno\t/n}

 

TBFE£HM@NE_% Cannon Law Associates, Kaggabe |nc. and

W§yrte 77
(1~ U.s. PLA 1NT/FF cA sEs 0NL Y)
iN LAND coNDEMNATION CAsEs, use THE LocA'rioN oF

 

II. BASIS OF JURISDICTION (Plu¢'e an "/\"'in O)ze Bz)x Only)

:l 1 U.S. Govcmmcnt

Plaintiff

j 3 Fedcra| Qucstlcn

D 2 U.S. Govcrnmcnt
Dct`cndant

3 4 Divcrsity

IV. NATURE OF SUIT
;> ' " "ccmm¢z

      

PERSONAL IN.IURY

t"l l 10 lnsurance

fl 120 Marine 3 310 Airplane

Cl 130 Mi|ler Act U 3l5 Airplanc Product

Cl 140 Negotiable Instrument Liability

fl 150 Recovery ovaerpayment 3 320 Assaull, Libel &
& Enforcemcnt of Judgmcnt Slzmdcr

fl 151 Medicare Act C\ 330 Federal Employers’

:"| 152 Recevery ofDefaulted Ltability
Studcnt Loans C| 340 Marine
(Excludcs Vctcrnns) D 345 Marinc Product

153 Recovery of Overpayrnent Liability

ij 350 Motor Vchiclc

Cl 355 Motor Vehiclc
Product Liability

71 360 Othcr Persona|
Injury

3 362 Pcrsonal lnjury -

Medical Malpmctice

ZCI`VIIZ'¢RIGH '

of Vetcran’s Bencf`tts
160 Stockholdcrs’ Suits
190 Othcr Contract
195 Contract Product Liability
196 Frzinchisc

l_l.'_`lL]Ll _1

 

  
     

210 Land Condcm ation

3 C] 440 Othcr Civil Rights

[l 220 l"orcclosurc ij 441 Voting

Cl 230 cht Lcasc & chctmcnt C] 442 Employment

3 240 Tons to Land D 443 Housing/

D 245 Tort Product Llability Accommodations

:l 290 All Other Real Property Cl 445 Amer. w/Disabilities -
Employment

1`1 446 Amer¢ \v/Disabilitles -

Othcr

Cl 448 Education

 

(U.S. Gch'/‘nmenl Nol a Par/y)

(]ndicate Citizenship q/`Par!ies in ltent I[[)

 

(Place an "X" 'n Une Bl)x Only)

 

PERSONAL INJURY

D 365 Personal Injury -
Product I.iability
C] 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
=”I 368 Asbestos Personal
1njury Product
Liability
PERSONAL PROPERTY
Cl 370 Othcr Fraud
Cl 371 'I`ruth in Lcnding
Cl 380 Othcr Personal
Property Damage
D 385 Propcx‘ty Damagc
Product Liability

 
 

llaheas Corpus:

463 Alicn Dctaincc

510 Motions to Vacatc
Sentence

530 General

535 Death Penalty

Othcr:

540 Mandainus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee ~
Conditions of
Conf`lncmcnt

UUU;] C|E] DD

 

 

'_; CJ 791 Employee Retirement

  

 

III. CITIZENSHIP OF PRINCIPAL PARTIES (Pl¢iL-e

(For Dz'ver.\'ily Ca.\'e.\' Only)

an "X" in ()ne Br)x /Z))' P!ainl[/]`

anzl One B()xfo/' Defem]anl)

P'I`F DEF PTF DEF
Citizcn of This Statc l 1 :| 1 lncorporatcd or Ptincipal Place 3 4 l'J 4
of Busmcss In This Statc
Citizcn of Anothcr Statc D 2 d 2 Incorporatcd and Principal Place D 5 3 5
ofBusiness ln Anothcr Statc
Citizcn or Subjcct ofa 3 3 U 3 Foreign Nation Cl 6 D 6

Forcign Country

 
 
  

 

   

F,Q ' » ITURE£PENAI§’I’ ’
lj 625 Drug Related Seizure

ofProperty 21 USC 881
Cl 690 Othcr

    

D 423 Withdrawal
28 USC 157

    
 
  

 
   

§ PER
Cl 820 Copyrights
[l 830 Patent
l'l 840 Tradcmark

‘S’ltCl' L ECURI
f"l 861 1~11A(1395i`f)

  

BO
j 710 Fair Labor Stzmdard.

Act [] 862 Black Lung (923)
fl 720 Labor/Managcmcnt fl 863 DIWC/DlWW (405(g))
Relations Cl 864 SSID Title XVI

Fl 740 Railway Labor Act

13 751 Family and Mcdica|
l.cavc Act

Fl 790 Othcr Labor Litigation

l`l 865 RSl (405(g))

;\Uct;t amf m'_tuuut_t t_t;t

    
 

`§ "'FE 5 ERAI)TAXSUITS’%;“
870 Taxcs (7U.S. Plaintiff
or Dct`cndant)
§ 871 IRS~Third Pany
26 USC 7609

 
 

Income Sccurity Act

   
 
  

 

L|l_]

[MM,I,GR<A'TID
U 462 Naturalization Application
1`1 465 Othcr lmmigration

Actions

 

 

 

  
 

  

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Colmnercc

460 Deportation

470 Rackctecr lnflucnccd and
Corrupt Orgunizations

480 Consttxner Credit

490 Cablc/Sat TV

850 Sccurities/Commodities/
Exchange

890 Other Statutory Actions

891 Agrieultural Acts

893 Environmcntal Mattcrs

895 Free<.lom ul`lnfon'nmion
Act

896 Arbitration

899 Administrativc Proccdurc
AcURevicw or Appcal of
Agency Decision

950 Constitt\tionality of
Statc Statutes

 

V. ORIGIN (Pluce an "X" in One Br).'c Only)

Xl Original Cl 2 Removed from fl 3 Remanded from [l 4 Reinstated or fl 5 Transfem¢d from FJ 6 Multidistrict CI 8 Multidistrict
Procccding Statc Court Appcllatc Coutt Rcopcncd Anolher Djs[ricl Litigation ~ Litigation -
(.vpecijjy Transfcr Direct File

 

VI. CAUSE OF ACT[ON
Co ./\{v v‘\'J-[

 

Brief description oi`cause:

Cite the U.S. Civil Statu_te under which you_are filing

U')C, 1123

gaf \\/'

¢"~ 911 .\"\' ’

(Da nut cite jurisdictional statutes unless diversity)!

L

19th Co llec#.t¢`

prwin`c‘§`

 

 

 

VII. REQUESTED IN 13 CHECK IF THls IS A CLAss /'\CTION DEMAND $ CHECK YES Only if`demand€d in COmPlaimf
COMPLAINT: UNDER RULE 23, F~R-Cv-P- JURY DEMAND: 14 Yes cl No
VIII. RELATED CASE(S)
IF ANY (See "'mmc"'"""')" JUDGE 77 7 7 7 7 7 DOCKET NUMBER
DATE SIGNAT TORL RECORD
3/6//) % Fs")t?i

 

FOR OFFICE USE ONLY

RECE]PT ft AMOUNT

/

APPLYING IFP

JUDGE 1\/IAG. JUDGE

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.Z Page 2 of 13

UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
S()UTHERN DIVISION

GEORGE MOUSA MUFARREH,
an lndividual,

Plaintiff,
_ VS _

TBF FINANCIAL, LLC.,

a Michigan limited liability company;
CANNON LAW AssoclATEs,

a Utah Professional limited liability company;
KABBAGE, INC.,

a Foreign corporation; and

CELTIC BANK CORPORATION,

a Utah Corporation,

Defendants.

Case No.: CZ

 

THE RUB!NSTEIN LAW FIRM

Jan Jeffrey Rubinstein (P57937)
Ryan P. Richardville (P77335)
Attorneys for Plaintiff

30150 Telegraph Rd., Ste. 444
Binghatn Farms, MI 48025
(248) 220~1415

CANNON LAw AssoclATEs
Spencer B. Lythgoe #11921
Attorney for Defendant, TBF
8619 S. Sandy Pkwy., Ste. lll
Sandy, UT 84070

(801) 255-7475

 

COMPLAINT AND JURY DEMAND

Now CoMEs Plaintiff, GEORGE MousA MUFARREH, by and through its attorneys, THE

RUBINSTEIN LAW FIRM, and for his Complaint and Jury Demand, states as follows:

INTRODUCTION

l. This is an action for damages brought by an individual consumer for Defendants’

violations of the F air Debt Collection Practices Act (FDCPA), 15 USC 1692 et seq.,

and the Michigan Collection Practices Act (State Act), MCL 339.901 et seq., Which

prohibit debt collectors from engaging in abusive, deceptive, and unfair practices

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.3 Page 3 of 13

10.

Plaintiff also brings claims under the Michigan Consumer Protection Act (MCPA),
MCL 445.901 et seq., and common law negligence for the improper conduct
engaged in by Defendants.

JURISDICTION AND VENUE
Jurisdiction of this Court arises under 15 USC 1692k(d) and 28 USC 1337, and
supplemental jurisdiction exists for the state law claims pursuant to 28 USC 1367.
Plaintiff, GEoRGE MousA MUFARREH, is an individual residing at 21630
Beechcrest St., Dearborn Heights, Ml 48127.
Defendant, TBF FINANCIAL, LLC is a Foreign limited liability company, With a
registered office address at 740 Waukegan Road, Suite 404 Deerfield, IL 60015
and operates throughout the United States, including Wayne County, MI.
Defendant, CANNON LAW ASSOCIATES, is a Utah Professional Corporation that is
principally engaged in the business of collecting debts, With its principal place of
business at 8619 S. Sandy Pkwy., Ste. lll Sandy, UT 84070.
Defendant, KABBAGE, lNC. is Foreign corporation with a registered office address
of P.O. Box 77081 Atlanta, GA 33057 and operates throughout the United States,
including Wayne County, l\/Il.
Defendant, CELTIC BANK CORPORATION, is a Utah corporation With a registered
office address of 268 S. State St., Ste. 300 Salt Lake City, Utah 84111 and operates
throughout the United States, including Wayne County, Ml.
The events giving rise to this cause of action arose in the County of Wayne, State
of Michigan.

The amount in controversy exceeds TWenty-Five Thousand Dollars ($25,000.00).

CaSe 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.4 Page 4 of 13

11.

12.

13.

14.

15.

16.

17.

18.

19.

Venue is properly laid in this Court.

FACTUAL ALLEGATioNs
Plaintiff incorporates and realleges all above paragraphs as if set forth in full herein.
Defendants, TBF FiNANCiAL, LLC, KABBAGE INC., and CELTiC BANK
CORPORATION, by and through its counsel, CANNON LAW ASSOCIATES, initiated
collection proceedings against Plaintiff, GEORGE l\/IOUSA MUFARREH, for a balance
allegedly due pursuant to a business loan.
ln the course of its collection efforts, all Defendants have failed to respond to
Plaintiff’s repeated requests, both orally and in writing, for a full account statement
history.
All Defendants have also failed to provide a copy of the agreement at issue in this
matter fully depicting the wet note signature of the alleged debtor.
In the course of its collection efforts, all Defendants have failed to respond to
Plaintiff’ s repeated requests, both orally and in writing, for a proper verification of
the alleged debt, nor a valid assignment of the alleged debt.
Defendants’ refusal to provide the agreement in a timely manner was intended to
deprive Plaintiff, GEORGE MOUSA l\/IUFARREH, of his rights under the contract,
including the right to elect to have any action heard through arbitration as opposed
to the courts.
As a result of Defendants’ actions and inactions, Plaintiff, GEORGE MOUSA
MUFARREH, Was improperly sued in his personal capacity for a commercial
business loan of which Plaintiff operates

As a result of the improper attempts to collect an alleged debt, Plaintiff has suffered

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.B Page 5 of 13

20.

21.

from the improper reporting to credit bureaus for this alleged debt in his personal

capacity.

CoUNT I - VloLATloNs oF THE FDCPA AGAiNsT ALL DEFENDANTS

Plaintiff incorporates and realleges all above paragraphs as if set forth in full herein.

Defendants have violated the FDCPA. The violations by the Defendants, include,

but are not limited to, the following:

3..

b.

F ailure to send a Written debt validation notice [15 USC 1692g] § 809(a);
lgnoring Written requests to verify the debt and continuing attempts to
collect [15 USC 1692g] § 809(b);

Continued attempts to collect on alleged debts before providing verification
[15 USC 1692g] § 809(b);

Continued collection attempts after receiving a cease communication notice
[15 USC 1692€] § 805(0);

Demanding payment in amounts that are in excess of amounts actually owed
[15 USC 1692e] § 807(2)(a);

Demanding payment on interest, fees and expenses prohibited by law [15
USC 1692f] § 808(1);

Threatening action that is prohibited by law [15 USC l692e] § 807(5);
lllegally informing third-parties of the alleged debts [15 USC 1692e] §
805(b);

Making material misrepresentations regarding the alleged debt [15 USC
1692e] § 807(b); and

Failed to identify themselves as a debt collector during their attempts to

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.€ Page 6 of 13

collect on the debt 15 USC 1692e] § 807(11).

22. As a result of Defendants’ violations of the FDCPA, Plaintiff suffered actual
damages and is also entitled to an award of statutory damages, costs, and attorney
fees.

WHEREFORE, Plaintiff, GEoRoE MousA MUFARREH, respectfully requests that this
Honorable Court enter judgment against Defendants, TBF FINANCIAL, LLC, CANNON LAW
AssoCiATEs, KABBAGE, INC., and CELTIC BANK CoRPoRATioN jointly and severally, as follows;

a. Actual damages and statutory damages of $l ,000 pursuant to the FDCPA;
b. Treble damages or $150, Whichever is greater, pursuant to the Michigan Collection
Practices Act;
c. Costs and reasonable attorney fees pursuant to 15 USC 1692k and MCL §
339.916(2).
CoUNT II - VloLATloNs oF THE MICHIGAN CoLLECTIoN PRACTICES ACT

23. Plaintiff incorporates and realleges all above paragraphs as if set forth in full herein.

24. Defendants violated the Michigan Collection Practices Act. Defendants’ violations
include, but are not limited to, the following:

a. Communicating with a Plaintiff in a misleading and deceptive manner
[MCL § 445.252(a)];

b. Making inaccurate, misleading, untrue and deceptive statements and claims
in communications to collect a debt [MCL § 445.252(€)];

c. Making material misrepresentations in a communication regarding an
alleged debtor [l\/ICL § 445.252(9];

d. Communicating with Plaintiff without disclosing their identity as a debt

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.? Page 7 of 13

collector [MCL § 445.252(g)];

e. Using a harassing oppressive, or abusive method to collect a debt [MCL §
445.252(n)]; and

f. Failing to implement a procedure designed to prevent a violation by an
employee [MCL § 445.252(q)].

25. As a result of Defendants’ willful violations of the Michigan Collection Practices

Act, Plaintiff suffered actual damages, and is entitled to an award of treble damages,

statutory damages, costs, and attorney fees.

WHEREFORE, Plaintiff, Gi-:oRoE MousA MUFARREH, respectfully requests that this
Honorable Court enter judgment against Defendants, TBF FiNANCIAL, LLC, CANNON LAW
AssociArEs, KABBAGE, INC., and CELTIC BANK CoRPoRATioN, jointly and severally, as follows:

a. Actual damages and statutory damages of $l,OOO pursuant to the FDCPA;
b. Treble damages or $150, whichever is greater, pursuant to the Michigan Collection
Practices Act;
c. Costs and reasonable attorney fees pursuant to 15 USC 1692k and MCL §
339.916(2).
CoUNT III - VioLATIoN oF THE FAiR CREDlT REPoRTiNG ACT AGAINST ALL DEFENDANTS
26. Plaintiff incorporates and realleges all above paragraphs as if set forth in full herein.
27. Defendants violated 15 USC 168 le(b) by failing to establish or to follow reasonable
procedures to ensure maximum possible accuracy in the preparation of the credit
report and credit files it published and maintains concerning Plaintiff, GEORGE
MoUsA MUFARREH.

28. Defendants violated 15 USC 1681i by failing to delete inaccurate information in

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.S Page 8 of 13

29.

30.

Plaintiff’s credit file acter receiving actual notice of the inaccuracies; by failing to
conduct a lawful reinvestigation; by failing to forward all relevant information to
the furnisher at issue; by failing to maintain reasonable procedures with which to
filter and verify disputed information in Plaintiff s credit file; and by relying on
verification from an unknown, unreliable source.

Defendants’ conduct, actions, and inactions were Willful, rendering it liable for
punitive damages in an amount to be determined by this Court and pursuant to 15
USC l681n. ln the alternative, Defendants’ were negligent, entitling Plaintiff to a
recovery pursuant to 15 USC 16810.

Plaintiff is entitled to recover costs and attorney fees from Defendants in an amount
to be determined by this Court and pursuant to 15 USC 1681n and/or 15 USC

16810.

WHEREFORE, Plaintiff, Gi-:oRoE MoUsA MUFARREH, respectfully requests that this

Honorable Court enter judgment against Defendants, TBF FINANCIAL, LLC, CANNON LAW

AssoCiATEs, KABBAoi-:, INC., and CELTIC BANK CoRPoRATioN, jointly and severally, for

compensatory and punitive damages, costs and reasonable attorney fees, prejudgment and 4

postjudgment interest at the legal rate, and punitive damages in an amount determined by this

Court, and any other such relief that this Court deems necessary and just.

31.

32.

CoUNT IV - NEGLlGENT HtRiNG/SUPERvisiON AGAiNsT ALL DEFENDANTS

Plaintiff incorporates by reference paragraphs one through twenty-one.
The Defendants owed to the Plaintiff the duty to exercise reasonable care in
employing and/or contracting with employees, agents and/or attorneys for debt

collection purposes

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.Q Page 9 of 13

33. The Defendant, CANNON LAW ASSOClATES, breached their duty and were negligent

Defendant’s negligence included, but is not limited to the following acts and

omissions:
i. Communicating with a Plaintiff in a misleading and deceptive manner;
ii. For failing to provide adequate job supervision andjob training;
iii. For using inadequate work methods;
iv. lntentionally and/or negligently failing to adhere to the contract’s
arbitration provisions;
v. lntentionally and/or negligently failing to provide a valid assignment

of any alleged debt, a proper assignment of the alleged debt, and a
copy of the contract bearing a wet mark signature of Plaintiff from
which the alleged debt arises
34. The Defendants, TBF FiNANCiAL, LLC, CANNoN LAw AssociArEs, KABBAGE,
lNC., and CELTIC BANK CORPORATION breached their duties and were negligent.
Defendants’ negligence included but is not limited to the following acts and
omissions:
a. Primary negligence:
vi. They failed to select, employ, and retain in its service a careful or
competent debt collectors;
vii. They failed to warn the Plaintiff of the unreasonable and intrusive
methods debt collection utilized by its debt collection agents;
viii. They failed to provide, or require, a compliance program to prevent

violations ofthe FDCPA, MCPA; and

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.lO Page 10 of 13

ix. They gave ambiguous orders and acquiesced in negligent methods of

work.
b. Vicariously, as follows:

i. F or Defendants’ employees, agents and/or attorneys failure to establish
and enforce rules regarding the lawful and appropriate methods of debt
collection;

ii. For Defendants’ employees, agents and/or attorneys failure to provide
adequate job supervision and job training; and

iii. F or Defendants’ employees, agents and/or attorneys using improper and
unlawful work methods

35 . The acts or omissions of the Defendants was a proximate and direct cause of the
Plaintiff` s injuries and damages
WHEREFORE, Plaintiff, GEORGE MOUSA MUFARREH, respectfully requests that this
Honorable Court enter judgment against Defendants, TBF FINANCIAL, LLC, CANNON LAW
ASSOCIATES, KABBAGE, INC., and CELTIC BANK CORPORAT!ON,jointly and severally, in an amount
in excess of 825,000.00 and award costs and attorney fees wrongfully incurred

CoUNT V ~ VloLATloN oF THE MiCHiGAN CoNsuMER PRoTECTioN ACT AGAiNsT ALL
DEFENDANTS

36. Plaintiff incorporates by reference paragraphs one through thirty-eight

37. By engaging in or attempting to engage in the practice of debt collection without
adherence to the rules set forth by the F air Debt Collection Practices Act and the
Michigan Collection Practices Act, Defendants have violated the Michigan
Consumer Protection Act.

38. Plaintiff is an “affected person” within the meaning of the Michigan Consumer

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.11 Page 11 of 13

39,

40.

41.

42.

Protection Act.

Plaintiff is a person who has suffered a loss within the meaning of the Michigan
Consumer Protection Act.

Defendants are engaged in “trade or commerce” within the meaning of the
Michigan Consumer Protection Act.

Defendants, by representing that they were fully compliant with the provisions of
the Fair Debt Collection Practices Act and the Michigan Collection Practices Act
have violated the Michigan Consumer Protection Act.

Unless restrained by the Court, Defendants will continue to violate the Michigan

Consumer Protection Act.

WHEREFoRE, Plaintiff, GEoRoE MoUsA MUFARREH, respectfully requests that this

Honorable Court enterjudgment against Defendants, TBF FINANCIAL, LLC, CANNON LA W, PLC,

KABBAGE, INC., and CELTiC BANi< CoRPoRATioN, jointly and severally, as follows:

a. That this Court enter an order forbidding Defendants from engaging in or
offering to engage in any debt collection activity with respect to Plaintiff,
for which adherence to the Fair Debt Collection Practices Act and the
Michigan Collection Practices Act, is required

b. That this Court enter an order commanding Defendants to take whatever
corrective action this Court deems just in order to counter the existing legal
actions against Plaintiff by Defendants.

c. That the Court award Plaintiff actual costs and attorney fees

d. A monetary judgment in an amount in excess of 825,000.00 together with

interest, costs, and reasonable attorney fees

10

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.12 Page 12 of 13

Dated: February 21, 2017

Respectfully Submitted,

By: /s/ /
J an Jeffrey instein (P5 793 7)
Attorne r Plaintiff

3015 elegraph Rd., Ste. 444

Bingham Farms, Ml 48025
(248) 220-1415

11

Case 2:17-cV-1O756-I\/|OB-SDD ECF No. 1 filed 03/08/17 Page|D.13 Page 13 of 13

JURY DEMAND

Plaintiff, GEORGE l\/IOUSA MUFARREH, hereby demands ajury trial.

Dated: February 21, 2017

Respectfully S ' d,
THE RUBiNs iN LAw FiRi\/i

By: /s/

J an Jeffrey instein (P5 793 7)
Attomey Plaintiff
30150 elegraph Rd., Ste. 444

Bingham Farms, Ml 48025
(248) 220-1415

 

12

